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                       EXHIBIT 3
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March 4 2025

To The Honorable Judge Sharon Johnson Coleman

Dear Judge Coleman

My name is                  , I am the oldest son of Richard “Brendan” Globensky. Brendan is my
birth father. Due to his young age at the time of my birth, his side of my adoption was a closed
adoption. In the year 2016, Brendan reached out to my adopted parents for their blessing to
contact me for the first time and begin building a relationship. Since this time, I have not only
met my birth father, I have gained a role model.

When he reached out to me, he went out of his way to fly out to California to spend the weekend
with me. After a few visits, he invited me to live with him and his family in Georgia. I took the
opportunity because I felt as if I was one of the lucky ones. An adopted kid, finally getting to
meet his birth father. A story that most do not get to tell. We clicked from day one, it was as if we
were best friends. He was my father, but he was more like a best friend that I needed at that point
in my life.

Since then, Brendan has been a constant positive influence in my life. From the day I met him,
he has showed me what it is like to be a great father. He loves his family whole heartedly and
unconditionally. Not only is he a provider, but he is what I like to call the “glue”. His family
needs him. Every family has someone that holds them together. Growing up as one of three
brothers, now a father of 4 and a husband, he has always held his family together. Mistakes can
be made in life, but one thing that cannot be mistaken is this mans love for his family.

I would have an incredibly difficult time believing there is anyone that has something negative to
say about my fathers character. Family, friend, or coworker, he treats all equal and with respect. I
am positive I am one of many that would be willing to vouch for Brendan’s character.

I sincerely appreciate your time and consideration as you review my fathers case. Thank you for
the opportunity to speak on his character.

Sincerely,
